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o                                            UNITED STATES DISTRICT COURT
                                               DISTRICT OF CONNECTICUT

    CHRISTOPHER LENNON,                                                               :            CIVIL ACTION NO.

              Plaintiff                                                               :

                                    v.

    THE UNITED STATES OF AMERICA,                                                         :
    CITY OF MILFORD,
    RITA RENZULLI,
    XAVIER MOYE, and
    ALLSTATE FIRE AND CASUALTY INS. CO.                                                             JULY 20, 2018

                                                                    COMPLAINT

                                                                INTRODUCTION

              1.         This is an action for personal injuries sustained by Officer Christopher

    Lennon in multiple motor vehicle accidents occurring on or about August 12, 2016 at

    approximately 12:20 PM against The United States of America and the City of Milford, his

    employers on that date, Allstate Fire and Casualty Ins. Co., the Plaintiff’s motor vehicle

    liability insurer on that date, Xavier Moye, and Rita Renzulli.

              2.         The Plaintiff, Christopher Lennon, is and was at all relevant times a resident

    of the City of Milford, an employee of the City of Milford serving as a Milford Police Officer,

    and a Task Force Officer working for the United States of America, Federal Bureau of

    Investigation, as part of the New Haven Safe Streets Task Force.




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o             3.        The Plaintiff now seeks damages for his personal injuries pursuant to the

    common law of Connecticut.

                                                   JURISDICTION AND VENUE

              4.        This Court has jurisdiction as to the United States of America pursuant to

    28 U.S.C. § 1346 (b) and The Federal Tort Claims Act, 28 U.S.C. § 2671, et seq.

              5.        This Court has supplemental jurisdiction as to the remaining Defendants

    pursuant to 28 U.S.C. § 1367, in that the acts or omissions complained of against them

    arise out of or are part of the same transaction, occurrence, or controversy.

              6.        Venue in this district is proper pursuant to 28 U.S.C. § 1402 (b) of the

    Federal Tort Claims Act in that the Plaintiff resides in Connecticut and the acts or

    omissions complained of herein occurred in Connecticut. Xavier Moye and Rita Renzulli

    reside in Connecticut. The City of Milford is a Connecticut municipality, and Allstate Fire

    and Casualty Ins. Co. issued a motor vehicle liability policy to the Plaintiff in Connecticut.

              7.         Pursuant to 28 U.S.C. § 2401, this claim was originally presented in writing

    to the Federal Bureau of Investigation within two years of the acts or omissions

    complained of.




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          8.        On or about June 4, 2018, Plaintiff’s counsel received, via certified mail, a

written notice of final denial of the claim that had been submitted to the Federal Bureau

of Investigation on the Plaintiff’s behalf.

                                                 COMMON ALLEGATIONS

          9.        A t all relevant times, Milford Circle, previously known as Ring Road, was a

public street and/or roadway in Milford, Connecticut, which generally circled the

Connecticut Post Mall, and adjoining parking lots and parking structures, located at 1201

Boston Post Road, Milford, Connecticut.

          10.        On August 12, 2016, Christopher Lennon was working as a Task Force

Officer for the Federal Bureau of Investigation’s New Haven Safe Streets Task Force,

and in that capacity was on loan from the Milford Police Department to the Federal Bureau

of Investigation.

          11.        On August 12, 2016, at approximately 12:20 PM Christopher Lennon was

operating an unmarked Nissan Altima, and was following a suspected stolen Honda CRV,

which had exited Interstate 95 Southbound, and entered a parking structure adjacent to

Milford Circle.

          12.        At all relevant times, the suspected stolen Honda CRV was being operated

by Defendant Xavier Moye.




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          13.       At that same time and place, the Xavier Moye encountered a marked Milford

Police vehicle, and failed to stop, coming into contact with that vehicle, and thereafter

continued onto a ramp that was used to exit the parking structure and enter Milford Circle.

          14.       Then and there, suddenly and without warning, the Xavier Moye stopped,

and the front of Christopher Lennon’s vehicle came into contact with the rear of the Honda

CRV in a violent and forceful collision.

          15.       Thereafter, the Honda CRV continued approximately westbound onto

Milford Circle and entered a parking lot located approximately thereat.

          16.       At that same time and place, the Honda CRV continued to fail to stop and

the front of Christopher Lennon’s vehicle again came into violent and forceful contact with

the driver’s side of the Honda CRV in a violent and forceful collision.

           FIRST CAUSE OF ACTION: ON BEHALF OF CHRISTOPHER LENNON
                      AS TO XAVIER MOYE FOR NEGLIGENCE

          17.        Paragraphs one through sixteen are incorporated herein by reference as if

fully and completely realleged.

          18.       At all relevant times, the first collision between Christopher Lennon’s vehicle

and Xavier Moye’s vehicle was a direct and proximate result of the negligence and

carelessness of Xavier Moye in one or more of the following ways, in that he:

                a. Failed to stop for a marked police cruiser;




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                    b. Stopped when it was not safe to do so;
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                    c. Stopped in violation of applicable traffic laws and/or without regard
                       for the safety of others;

                    d. Failed to keep his vehicle under proper and reasonable control;

                    e. Failed to keep alert and awake in the operation of his motor vehicle;

                    f.   Failed to turn his vehicle to the left or to the right in order to avoid the
                         collision;

                    g. Failed to apply his brakes in sufficient time or in sufficient fashion so
                       as to avoid the collision;

                    h. Failed to honk his horn or provide the Plaintiff with any warning
                       whatsoever of the impending collision; and/or

                    i.   Failed to take other reasonable and appropriate measures to prevent
                         the accident.

              19.        At all relevant times, the second collision between Christopher Lennon’s

    vehicle and Xavier Moye’s vehicle was a direct and proximate result of the negligence

    and carelessness of Xavier Moye in one or more of the following ways, in that he:

                    a. Failed to grant the right of way to the vehicle being operated by the
                       Plaintiff in violation of the common-law;

                    b. Moved his vehicle from a stopped position when it was not safe to do
                       so in violation of General Statutes § 14-243;

                    c. Moved his vehicle from a stopped position when it was not safe to do
                       so in violation of the common-law;


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                d. Failed to grant the right of way to the vehicle being operated by the
                   Plaintiff in violation of the common-law;

                e. Failed to keep his vehicle under proper and reasonable control;

                f.   Failed to keep alert and awake in the operation of his motor vehicle;

                g. Failed to turn his vehicle to the left or to the right in order to avoid the
                   collision;

                h. Failed to apply his brakes in sufficient time or in sufficient fashion so
                   as to avoid the collision;

                i.   Failed to honk his horn or provide the Plaintiff with any warning
                     whatsoever of the impending collision; and/or

                j.   Failed to take other reasonable and appropriate measures to prevent the

                     accident.

          20.        As a direct and proximate result of the different aforementioned instances

of negligence and carelessness of Xavier Moye, Christopher Lennon suffered serious and

painful personal injuries, some or all of which may be permanent in nature, including, but

not limited to, the following:

                a. Injury to the cervical spine;

                b. Injury to the lumbar spine;

                c. Herniated disc at L4-L5;

                d. Injury to the left knee; and




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o                   e. Associated pain and suffering.

              21.       As a direct and proximate result of the different aforementioned instances

    of negligence and carelessness of Xavier Moye, Christopher Lennon incurred expenses

    for medical care and treatment, including medication, x-rays, diagnostic testing, treatment

    and therapy, all of which has caused him and will continue to cause him financial loss and

    damage.

              22.       As a direct and proximate result of the different aforementioned instances

    of negligence and carelessness of Xavier Moye, Christopher Lennon suffered mental

    frustration, stress, and anguish over the fact that he was and remains injured.

              23.       As a direct and proximate result of the different aforementioned instances

    of negligence and carelessness of Xavier Moye, Christopher Lennon has suffered and

    will continue to suffer in the future from a decrease in his capacity to engage in and enjoy

    life’s activities as he was able to do prior to the aforementioned collisions and resulting

    injuries.

              SECOND CAUSE OF ACTION: ON BEHALF OF CHRISTOPHER LENNON
                        AS TO RITA RENZULLI FOR NEGLIGENCE

              24.        Paragraphs one through sixteen are incorporated herein by reference as if

    fully and completely realleged.



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          25.        A t all relevant times, the Honda CRV being driven by Xavier Moye was

leased by Rita Renzulli.

          26.        A t all relevant times, the aforementioned collisions between Christopher

Lennon’s vehicle and the vehicle being operated by Xavier Moye were a direct and

proximate result of the negligence and carelessness of Rita Renzulli, in one or more of

the following ways, in that she:

                a. Failed to secure her motor vehicle to prevent unauthorized drivers from

                     operating it, including the act of leaving a key in the vehicle, knew or should

                     have known that it was unreasonable to leave said vehicle unsecured;

                b. Left the keys to the motor vehicle in an unsecured and or visible location so

                     that they could be readily and easily accessed by unauthorized drivers;

                     and/or

                c. Failed to take other reasonable and appropriate measures to ensure that

                     said motor vehicle was not accessed by unauthorized drivers;

          27.        As a direct and proximate result of the aforementioned negligence and

carelessness of Rita Renzulli, Christopher Lennon suffered serious and painful personal

injuries, some or all of which may be permanent in nature, including, but not limited to,

the following:




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                a. Injury to the cervical spine;

                b. Injury to the lumbar spine;

                c. Herniated disc at L4-L5;

                d. Injury to the left knee; and

                e. Associated pain and suffering.

          28.       As a direct and proximate result of the different aforementioned instances

of negligence and carelessness of Rita Renzulli, Christopher Lennon incurred expenses

for medical care and treatment, including medication, x-rays, diagnostic testing, treatment

and therapy, all of which has caused him and will continue to cause him financial loss and

damage.

          29.       As a direct and proximate result of the different aforementioned instances

of negligence and carelessness of Rita Renzulli, Christopher Lennon suffered mental

frustration, stress, and anguish over the fact that he was and remains injured.

          30.       As a direct and proximate result of the different aforementioned instances

of negligence and carelessness of Rita Renzulli, Christopher Lennon has suffered and

will continue to suffer in the future from a decrease in his capacity to engage in and enjoy

life’s activities as he was able to do prior to the aforementioned collisions and resulting

injuries.




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o          THIRD CAUSE OF ACTION: ON BEHALF OF CHRISTOPHER LENNON
          AS TO THE UNITED STATES OF AMERICA FOR PERSONAL INJURY AND
                          UNINSURED MOTORIST BENEFITS

              31.        Paragraphs one through sixteen are incorporated herein by reference as if

    fully and completely realleged.

              32.        Paragraphs seventeen through twenty three of Count One are incorporated

    herein by reference as if fully and completely realleged.

              33.        At all relevant times, Christopher Lennon was working as a Task Force

    Officer for the New Haven Safe Streets Task Force under the purview of the Federal

    Bureau of Investigation, a Bureau of the Department of Justice of the United States of

    America.

              34.        At all relevant times, as an entity operating motor vehicles in the State of

    Connecticut, the Federal Bureau of Investigation was subject to the mandatory security

    requirements imposed by General Statutes § 38a-371.

              35.        At all relevant times, as an entity operating motor vehicles in the State of

    Connecticut, the Federal Bureau of Investigation was also subject to the mandatory

    minimum uninsured/underinsured motorist benefits coverage required by General

    Statutes § 38a-336.




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          36.       On information and belief the Federal Bureau of Investigation did not

provide for mandatory security requirements as provided by § 38a-371 or mandatory

uninsured/underinsured motorist benefits as required by General Statutes § 38a-336.

          37.       On information and belief, at all relevant times, Xavier Moye was not insured

and Rita Renzulli was either not insured or underinsured.

          38.        Failing to provide insurance, the United States of America is liable to the

Plaintiff for his aforementioned injuries and losses as are not covered by insurance, or for

which there is insufficient insurance coverage.

                      FOURTH CAUSE OF ACTION: AS TO CITY OF MILFORD
                           FOR UNINSURED MOTORIST BENEFITS

          39.        Paragraphs one through sixteen are incorporated herein by reference as if

fully and completely realleged.

          40.        Paragraphs seventeen through twenty three are incorporated herein by

reference as if fully and completely realleged.

          41.        At all relevant times, the Defendant, City of Milford, was a municipal

corporation in Connecticut.

          42.        At all relevant times, the Plaintiff was employed as a police officer with the

city of Milford.




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          43.       At all relevant times, the City of Milford was obligated by General Statutes

§§ 38a-371 and 38a-336 to provide uninsured and underinsured motorist benefits on

vehicles it operated, or which were being operated by its employees.

          44.        On information and belief, at all relevant times, Xavier Moye was not insured

and Rita Renzulli was either not insured or underinsured.

          45.       At all relevant times, the City of Milford was liable to Christopher Lennon for

uninsured and/or underinsured motorist benefits for his aforementioned injuries and

losses.




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                                                          PRAYER FOR RELIEF
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              WHEREFORE, the Plaintiff prays that the Court grant the Plaintiff the following

    relief:

              1.        Damages to the full extent allowable under the Federal Tort Claims Act,

    28 U.S.C. § 2671, etseq.

              2.        Compensatory damages against the other defendants;

              3.         Damages for uninsured motorist coverage;

              4.         Damages for underinsured motorist coverage;

              5.        Such other relief as the Court deems equitable and just.

    DATED:            1 20HI                                                            RESPECTFULLY S JBMITTED


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                                                                                        DANIEL P. SCHOLFIELD, ESQ.
                                                                                        LYNCH,TRAUB, KEEFE & ERRANTE
                                                                                        52 Trumbull Street
                                                                                        New Haven, CT 06510
                                                                                        Attorney for Plaintiff




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